8:16-cr-00076-RFR-MDN        Doc # 101     Filed: 06/02/16    Page 1 of 1 - Page ID # 198




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,       )
                                )
                Plaintiff,      )
                                )                               8:16CR76
     vs.                        )
                                )                                ORDER
KEITH PHELPS, RANDY CASILLAS,   )
JODY CASILLAS, RACHEL HUMPHREY, )
RYAN GABEL, ANDREA TRACY and    )
DONALD MONRRISSEY,              )

                     Defendants.


       This matter is before the court on defendant Randy Casillas’ unopposed motion to
continue trial [99] as defendant has recently entered treatment and counsel need additional
time to review discovery and explore plea negotiations. The defendant has complied with
NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the motion to continue trial is granted, as follows:

      1. The jury trial, for all defendants, currently set for June 14, 2016 is continued to
July 12, 2016.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and July 12, 2016 shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel for the defendant the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED June 2, 2016.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
